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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               )      Criminal No. 6:11-cr-15-GFVT-HAI-9
                                                 )
 V.                                              )
                                                 )
 JASON CARNES,                                   )                     ORDER
                                                 )
        Defendant.                               )


                                       *** *** *** ***
       This matter is before the court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram. [R. 787.] The Defendant, Jason Carnes, is charged with

multiple violations of his supervised release, based on two occurrences involving oxycodone use.

This Court, like Magistrate Judge Ingram’s Recommended Disposition, notes that this is the

fourth time Defendant Carnes has admitted to violating the terms of his supervised release.

       Regarding the current occasion, Carnes has been charged with four violations. On

August 28, 2015, Carnes tested positively for oxycodone and admitted using the drug. This

positive drug test and admission of use constitutes a violation of Standard Condition #7, which

prevents the Defendant from using or possessing any controlled substances except as prescribed

by a physician, and a violation of a general supervised release condition which prohibits the

Defendant from committing any federal, state, or local crimes. [R. 787 at 3.] Then, on

September 2, 2015, during a visit to the United States Probation Office in which Carnes was

asked to submit a urine specimen, Carnes admitted he would test positive for oxycodone and,

accordingly, signed an admission report. Just as described above, this positive drug test and
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admission constitutes two violations of the terms of Carnes’ supervised release, for using or

possessing controlled substances and for committing a federal crime. At a final hearing before

Magistrate Judge Ingram on September 22, 2015, Carnes knowingly, voluntarily, and

intelligently stipulated to the violations. [Id. at 4.]

        Judge Ingram appropriately considered the 18 U.S.C. § 3553 factors, as well as §

3583(e), when coming to his recommendation. The Recommended Disposition explains that a

sentence at the top of the applicable range is warranted in this case. Carnes’ case involves

repeated, serious breaches of the Court’s trust. Further, Carnes has a severe drug problem. He

was originally convicted for his participation in a wide-ranging methamphetamine conspiracy,

and all of his supervised release violations stem from his continued substance abuse. The need

to protect the public and to deter criminal conduct is high here.

        Judge Ingram’s Recommended Disposition explains that, in light of the repeated breaches

of trust involved in this case, the Court initially contemplated recommending an upward

departure from the Sentencing Guidelines. However, because of the joint recommendation of the

parties, Judge Ingram recommends a ten-month period of incarceration. The Recommended

Disposition explains that Defendant did not have an opportunity to complete a drug treatment

program while incarcerated and did not seek post-release treatment because he thought he had

sufficiently “detoxed” while incarcerated. As Defendant is clearly still struggling with substance

abuse, Judge Ingram recommends a four-year term of supervised release to follow the ten-month

incarceration, with a modified condition requiring Defendant to complete an inpatient drug

treatment program during his supervised release term. Although Judge Ingram considers a ten-

month term of imprisonment to be the very minimum term necessary in this case, the

Recommended Disposition does suggest the ten-month term in light of the joint recommendation



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of the parties.

        Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition advised the parties that objections must be filed within fourteen (14) days of service.

[Id. at 9.] See 28 U.S.C. § 636(b)(1). No objections to Judge Ingram’s Recommended

Disposition were filed within the appropriate time period by either party.

        Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

        1.        The Recommended Disposition [R. 787] as to Defendant Jason Carnes is

ADOPTED as and for the Opinion of the Court;

        2.        Defendant Carnes is found to have violated the terms of her Supervised Release

as set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition

of the Magistrate Judge;

        3.        Carnes’ Supervised Release is REVOKED;

        4.        Carnes is sentenced to a term of ten (10) months of incarceration, with a four-

year term of supervised release to follow. This four-year term will be subject to the same



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conditions previously imposed [R. 657], with the modified condition that Defendant shall

complete an inpatient drug treatment program and that, in the United States Probation Office’s

discretion, Defendant shall be required to pay for that treatment.

       5.      Judgment in this matter shall be entered promptly.

       This the 10th day of November, 2015.




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